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                  IN THE UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF GEORGIA
                            MACON DIVISION

SOPHIA VAZQUEZ a Minor,                            Civil Action File No.
By Parents and Guardian,                           5:21-cv-00098-MTT
IVANNA VAZQUEZ,

            Plaintiff,
v.

WAL-MART INC. AND JOHN DOES 1-5,

            Defendants.
                             /


              DEFENDANT'S JURISDICTIONAL STATEMENT

      COMES NOW, Defendant Wal-Mart Inc., through its undersigned counsel

of record, and, pursuant to Fed. R. Civ. P. 7.1 and to Local Rule 87.1, hereby

discloses the following:

      Defendant Wal-Mart Inc. is a Delaware corporation with its principal place

of business in the State of Arkansas. Defendant Wal-Mart Inc. was not a citizen

of the State of Georgia at the time of or immediately prior to the filing and

service of said lawsuit, or at any time thereafter. The principal place of business

for Wal-Mart Inc. is 708 SW 8th Street, Bentonville, AR 72716.

                                      McLAIN & MERRITT, P.C.

                                        /s/ Ernest L. Beaton, IV
                                      Ernest L. Beaton, IV
                                      Georgia Bar No. 213044
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                                   Attorneys for Defendant

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                           CERTIFICATE OF SERVICE

      This is to certify that on April 23 , 2021, I electronically filed a

DEFENDANT WAL-MART INC.'S JURISDICTIONAL STATEMENT with the

Clerk of Court using the CM/ECF system which will automatically send email

notification of such filing to attorneys of record.

                                        McLAIN & MERRITT, P.C.


                                          /s/ Ernest L Beaton, IV
                                        Ernest L. Beaton, IV
                                        Georgia Bar No. 213044
                                        Attorneys for Defendant

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